    Case 2:22-cv-00184-LCB-CWB Document 300 Filed 07/18/23 Page 1 of 8




                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

BRIANNA BOE,                        )
    et al.,                         )
                                    )
       Plaintiffs,                  )
                                    )
and                                 )
                                    )
UNITED STATES OF AMERICA,           )        No. 2:22-cv-00184-LCB-CWB
                                    )        Hon. Liles C. Burke
       Plaintiff-Intervenor,        )
                                    )
v.                                  )
                                    )
STEVE MARSHALL, in his official )
capacity as Attorney General of the )
State of Alabama, et al.,           )
                                    )
       Defendants.                  )

   JOINT MOTION TO AMEND PROTECTIVE AND HIPAA ORDERS

       Come now all parties and jointly move this Court to enter an order amending

its STIPULATED PROTECTIVE ORDER (doc. 137) and STIPULATED HIPPA

QUALIFIED PROTECTIVE ORDER (doc. 138) as set out below. In support of

this motion, the parties state as follows:

      1.    One or more of the parties may wish to seek documents or testimony

from a healthcare provider who is not a party to this action and who has treated a

pseudonymous Plaintiff.
     Case 2:22-cv-00184-LCB-CWB Document 300 Filed 07/18/23 Page 2 of 8




      2.     Currently, this Court’s protective and HIPAA orders do not permit a

party to, for example, present a Plaintiff’s medical records to the Plaintiff’s non-

party healthcare provider in the course of a deposition and inquire about the

treatment provided.

      3.     The parties seek an amendment to the Court’s Protective and HIPAA

orders (docs. 137 and 138) clarifying that those orders do not prohibit the parties

from issuing a subpoena to such a healthcare provider seeking a plaintiff’s medical

records, questioning such a healthcare provider concerning his or her treatment of a

plaintiff, or presenting a plaintiff’s medical records to such plaintiff’s healthcare

provider to facilitate questioning.

      4.     Any documents or testimony allowed by the amendment sought herein

would remain protected by the Court’s protective and HIPAA orders.

      5.     A proposed order is attached.


Respectfully submitted,                             Dated: July 18, 2023




                                         2
    Case 2:22-cv-00184-LCB-CWB Document 300 Filed 07/18/23 Page 3 of 8




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                                      3
    Case 2:22-cv-00184-LCB-CWB Document 300 Filed 07/18/23 Page 4 of 8




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                                       4
     Case 2:22-cv-00184-LCB-CWB Document 300 Filed 07/18/23 Page 5 of 8




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                                       5
   Case 2:22-cv-00184-LCB-CWB Document 300 Filed 07/18/23 Page 6 of 8




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                                      6
    Case 2:22-cv-00184-LCB-CWB Document 300 Filed 07/18/23 Page 7 of 8




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                                        7
    Case 2:22-cv-00184-LCB-CWB Document 300 Filed 07/18/23 Page 8 of 8




                         CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on July 18, 2023, which will serve all counsel of record.

                                      s/ A. Barrett Bowdre
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                                         8
